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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
COMMITTEE ON OVERSIGHT AND                            )
GOVERNMENT REFORM, UNITED STATES                      )
HOUSE OF REPRESENTATIVES,                             )
                                                      )
                              Plaintiff,              )
                                                      )
               v.                                     )   Case No. 1:12-cv-01332 (ABJ)
                                                      )
JEFFERSON B. SESSIONS III,                            )
in his official capacity as Attorney General of the   )
United States,                                        )
                                                      )
                              Defendant.              )
                                                      )




                       EXHIBIT A
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                               Conditional Settlement Agreement

        This Conditional Settlement Agreement (the “Agreement”) is entered into as of the last
date set forth below by and between the Committee on Oversight and Government Reform of the
United States House of Representatives (the “Committee”) and the Honorable Jefferson B.
Sessions, III, in his official capacity as Attorney General of the United States (the
“Department”).

        WHEREAS, the Committee is the appellant and the Department is the appellee in an
appeal pending in the United States Court of Appeals for the D.C. Circuit (the “Court of
Appeals”), styled Committee on Oversight and Government Reform of the United States House
of Representatives v. Sessions, No. 16-5078 (D.C. Cir.) (the “Appeal”), arising out of litigation
commenced by the Committee against the Department in the United States District Court for the
District of Columbia (the “District Court”), styled Committee on Oversight and Government
Reform of the United States House of Representatives v. Sessions, No. 1:14-cv-01967-RMC (the
“Lawsuit”); and

         WHEREAS, the Committee and the Department (collectively, the “Parties”) now desire
to attempt to resolve amicably the matters in controversy between them in the Lawsuit giving
rise to this Appeal;

        NOW THEREFORE, in consideration of the mutual covenants contained herein, the
Parties agree as follows:

1. Settlement of the Parties’ dispute is contingent upon vacatur of the District Court’s orders of
   August 20, 2014 and January 19, 2016 (the “Orders”). Accordingly, upon execution of this
   Agreement, the Parties will promptly file with the District Court a motion for an indicative
   ruling pursuant to Federal Rule of Civil Procedure 62.1 (“Motion for Indicative Ruling”),
   substantially as set forth in Exhibit A hereto, asking that court to issue an order (the
   “Indicative Ruling”) stating that (a) if the Court of Appeals remands the case to the District
   Court at the Parties’ request, the District Court will hold the case in abeyance pending the
   Parties’ efforts to achieve final resolution of their dispute in accordance with the terms of this
   Agreement, and (b) if the Parties thereafter jointly certify that they have achieved final
   resolution of their dispute in accordance with the terms of this Agreement, the District Court
   will vacate the Orders and dismiss the Lawsuit with prejudice.

2. If the District Court declines to grant the motion described in paragraph 1 above, or indicates
   that it would enter other relief not jointly supported by the Parties, this Agreement shall be of
   no force and effect and the Parties shall be returned to their respective positions prior to
   execution of this Agreement. If the District Court issues the Indicative Ruling, the Parties
   will promptly file with the Court of Appeals a motion for remand pursuant to Federal Rule of
   Appellate Procedure 12.1 (“Motion for Remand”), substantially as set forth in Exhibit B
   hereto, asking that court to retain jurisdiction of the Appeal but to hold the Appeal in
   abeyance and remand to the District Court so that the Parties can attempt to achieve final
   resolution of their dispute in accordance with the terms of this Agreement.



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3. If the Court of Appeals denies the Motion for Remand, this Agreement shall be of no force
   and effect and the Parties shall be returned to their respective positions prior to execution of
   this Agreement. If the Court of Appeals grants the Motion for Remand and enters an order
   retaining jurisdiction but holding the Appeal in abeyance and remanding the case to the
   District Court (the “Remand Order”), the Parties will seek in good faith to achieve final
   resolution of their dispute in accordance with the terms of this Agreement, as set forth below.

4. The Parties recognize that the Executive Branch of the United States Government
   (“Executive Branch”) continues to disagree with the District Court’s non-merits holdings,
   including its conclusion that the Committee had standing and a cause of action to bring this
   suit. The Parties agree that because subsequent developments have obviated the need to
   resolve those issues in an appeal in this case, the District Court’s holdings on those issues
   should not in any way control the resolution of the same or similar issues should they arise in
   other litigation between the Committee and the Executive Branch, and hereby waive any
   right to argue that the judgment of the District Court or any of the District Court’s orders or
   opinions in this case have any preclusive effect in any other litigation.

5. Within 30 days after entry of the Remand Order, the Department will produce to the
   Committee in electronic format all documents (including previously withheld material) that it
   previously offered to make available to the Committee in camera in its letter of June 17,
   2016, subject only to the redactions identified in that letter and to the following conditions,
   which are offered by the Committee purely as an accommodation: the Committee will store
   these documents exclusively on (a) a computer that is not connected to either the Internet or
   the House computer network and that is physically located in a locked area of the
   Committee’s offices, or (b) removable digital media that will be kept in a locked container.
   The Committee will give the Department written notice seven calendar days before publicly
   releasing any of the newly unredacted material. During the seven-day notice period and prior
   to the Committee’s public release of any such material, the Department will not disclose to
   any person outside of the Department either (a) the fact that the Committee is intending to
   make the disclosure or (b) the contents of the impending disclosure, provided, that the
   Department may inform individuals employed by the Executive Office of the President on a
   need-to-know basis if such individuals agree to preserve the confidentiality of all such
   information prior to disclosure by the Committee.

6. (a) The Department represents that it used its best efforts, understanding limitations due to
   the passage of time, to provide to the Committee an explanation of the processes and
   mechanisms that were used to search for and compile the documents identified on the
   Department’s final log of responsive documents in this Lawsuit, including the search terms
   used and the names of custodians whose records were searched.

   (b)(1) Using the search terms specified below, the Department will search for and produce to
   the Committee on a rolling basis all documents responsive to categories 1, 4, 5, and 10 of the
   subpoena issued by the Committee to the Department on October 11, 2011, and subsequently
   reissued in subsequent Congresses (the “Holder subpoena”) that (i) relate to the Department’s
   responses to Congress and/or the Committee’s investigation of Operation Fast and Furious,
   (ii) were created or modified between Oct. 11, 2011, and June 28, 2012, and (iii) were

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    contained in the files or emails of the following custodians: Eric Holder, Jr., Gary Grindler,
    James Cole, Lanny Breuer, Ronald Weich, Jason Weinstein, Matt Axelrod, Tracy Schmaler,
    Lisa Monaco, Mythili Raman, Stuart Goldberg, and/or Steven Reich; provided, that the
    Department’s search and production will be limited to relevant material in sent email folders
    for the foregoing custodians; provided further, that the Department’s production will be
    limited to emails without attachments, but the Committee may request specific attachments
    or additional emails received but not authored by the foregoing custodians within four
    months after receiving the relevant emails and the Parties will negotiate in good faith to
    address any such request. The Parties reserve their respective rights with respect to any such
    request, including the right to continue the Appeal and Lawsuit if the Parties cannot reach
    agreement within three months after submission of any such request and either Party
    thereafter notifies the other Party in writing that it is exercising its right to terminate the
    Agreement within 30 days after expiration of any such good-faith negotiation period.

        (2) Search terms: For Matt Axelrod and Steven Reich, the Department’s search of their
        sent email folders will employ all of the original search terms used in compiling the
        “Executive Privilege set”; 1 plus the following additional search terms:

             Committee, House, Senate, Grassley!, Issa!, “our guy,” Cummings!, Leahy!,
             Chairman!, Ranking Member!, RM, Ranking Minority Member, RMM, OGR,
             COGR, HOGR, T III, T-III, wiretap, AZ gun trafficking case, AZ, Brian Terry,
             “transcribed interview,” “agency counsel,” contempt, subpoena, transcript, “executive
             privilege,” “memos on memos,” “deliberative process,” deliberative, “fair
             compilation,” “representative sample,” “priority doc!”;

        plus variations of names necessary to capture all references to the following people:

             Stephen “Steve” Castor
             Jason Foster
             Kolan Davis
             Tristan Leavitt
             Henry Kerner
             Ashok Pinto
             Carlton Davis
             Robert “Rob” Borden

1
  These search terms are: "_ff_"; "0057"; "785041-09-0008"; "785045-07-0177"; "785085-08-0057"; "785115-10-
0020"; "estrella-sesma"; "f & f"; "f and f"; "f/f"; "fast/furious"; "fnf"; "grenade case"; "lone wolf"; "lwtc"; "mad
dawg"; "mad dog"; "medina-duarte"; "novelty items"; "post blast recover*"; "wide receiver"; "wr"; "wr1"; "wr2";
"x-caliber"; (arizona OR az) AND gun AND "large fir”; (arizona OR az) w/10 straw; (celis w/2 acosta) w/10 (gun
OR firearm; 112 w/10 (firearm OR gun); 117 w/10 (firearm OR gun); 15 w/10 (firearm OR gun); 16 w/10 (firearm
OR gun) ; 50 w/3 cal*; alejandro w/3 posada; arizmendi; avila w/10 (gun OR firearm); betancourt; carson AND
paskalis; celaya; chamber* w/10 (gun OR firearm); daniel w/3 mueller; detty; dna w/15 taggant; draco; drako;
elenes; fast w/2 furious; fernandez; gonzalez; grenade w/15 flourescent; grenade w/15 phoenix; grenade w/15 yuma;
gun* w/4 south*; gun* w/4 walk*; gun* w/5 mexico; hernan; hernandez; hoover AND paskalis; horowitz; isaias;
ken w/10 (gun OR firearm); kingery; maddog; may w/2 douglas; medina; medrano; melson w/10 (gun OR firearm);
merritt; morales; newell AND paskalis; parra; patino w/10 (gun OR firearm); pedro w/2 ramirez; phoenix AND gun
AND large AND firearm; phoenix w/10 straw; posada; rambo; ramos; rutledge; shriber; siria; southbound w/3 op*;
tucchi; valencia; x w/2 caliber.

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       Jo-Marie St. Martin (including variations such as Jo Marie and JoMarie)
       Mike Sommers

   (3) For the remaining custodians (Eric Holder, Jr., Gary Grindler, James Cole, Lanny
   Breuer, Ronald Weich, Jason Weinstein, Tracy Schmaler, Lisa Monaco, Mythili Raman,
   and Stuart Goldberg), the Department’s search of their sent email folders will employ all
   of the same search terms referenced in paragraph 6(b)(2), except for the following:

       Committee, House, Senate, Chairman!, Ranking Member!, RM, Ranking Minority
       Member, RMM

   (4) The search and production referenced in this paragraph 6(b) will proceed in the
   following manner:

            (A) The Department will initially provide the full set of responsive Steven Reich
   search materials to the Committee, within 60 days after entry of the Remand Order.
            (B) Based on its initial review of those materials, the Committee will consider
   whether some of the additional searches of the other custodians’ emails can be narrowed
   or targeted in a manner that reduces the burden on the Department while still allowing the
   Committee to advance its oversight interests. The Committee will then communicate its
   initial views on that subject to the Department in writing, and thereafter the Parties will
   (at the Department’s option) engage in good-faith negotiations on that subject for up to
   21 days.
            (C) After expiration of the good-faith negotiations period referenced in paragraph
   6(b)(4)(B), the Department will identify and produce to the Committee the remaining
   search materials as outlined above, subject to any agreed-upon narrowing of the scope of
   the search (if any) that may have resulted from the good-faith negotiations referenced in
   paragraph 6(b)(4)(B). The production will occur on a rolling basis and will be completed
   within six months after expiration of the good-faith negotiations period referenced in
   paragraph 6(b)(4)(B).

(c) Commencing upon entry of the Remand Order, the Department will conduct a new
search for and produce to the Committee within six months (or certify the completeness of
the preceding production of) all responsive documents that fall into the following categories:

   (1) All documents and communications dated or created between March 30, 2011, and
   May 3, 2011, involving the custodians identified in this paragraph (1) in response to or
   as a result of the email communications attached as Exhibit B (two dated March 30,
   2011, and one dated March 31, 2011). The search shall be conducted as follows: The
   Department will process all email in time range for review – March 30, 2011 through
   May 3, 2011 – for Matt Axelrod, Ronald Weich, Jason Weinstein, and Stuart Goldberg,
   using the following search terms: Melson, T III, T-III, wiretap application, authorization,
   ROI, ROIs, Report! of Investigation!, seal, affidavit, and paragraphs 17 and 24.

   (2) All documents and communications dated or created between June 19, 2011, and July
   15, 2011, involving the custodians identified in this paragraph (2) in response to, in

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reference to, or as a result of then-Acting ATF Director Kenneth E. Melson’s
communications with the Committee, including the June 19, 2011, communications, the
July 3, 2011 meeting with Committee staff, and the July 4, 2011, interview. The search
shall be conducted as follows: The Department will process all email in the specified
time range for review – June 19, 2011 through July 15, 2011 – for Matt Axelrod, Ronald
Weich, Jason Weinstein, and Stuart Goldberg, using the following search terms: Kenneth
Melson, Ken Melson, Melson, Richard Cullen, Cullen, personal counsel, personal lawyer,
Committee, House, Senate, Grassley, Issa, OGR, COGR, HOGR, Steve Castor, Stephen
Castor, Steve, Castor, Jason Foster, Foster, and Jason.

(3) All documents and communications dated or created between Aug. 4, 2011, and
December 3, 2011, that were created, sent, or received by any custodian identified in
paragraph 6(b)(1) above and that concern or relate to the drafting and/or delivery of the
December 2, 2011, letter from Deputy Attorney General James M. Cole to Committee
Chairman Darrell E. Issa and Senator Charles E. Grassley, with the search to be limited
as follows:

        (A) For the entire Aug. 4 – Dec. 3, 2011 time period, the Department will search
using the following terms:

       T III, T-III, wiretap application, authorization, “highly deliberative,”
       “long-held,” “both political parties,” “significant confidentiality interests,”
       “come to light,” “formally withdraw!,” “unique circumstances,” “sui
       generis,” ROI, ROIs, Report! of Investigation!, seal, affidavit, interdict,
       “every effort,” “remains our understanding,” February 4, 2011, February
       4!, Feb 4, “February 4 letter,” withdraw!, inaccura!, mislead!, veracity.

        (B) In addition, for the Aug. 4, 2011 – Oct. 10, 2011 date range only, the
Department will also search using the new terms proposed by the Committee for the
search referenced in paragraph 6(b)(1) above, in the same manner as for that search (i.e.,
using the full set of new terms for Steven Reich and Matt Axelrod, and the reduced set
for the other custodians).

       (C) The production under this paragraph (3) need not include documents
previously produced to the Committee either prior to this agreement or pursuant to
Paragraph 6(b)(4) above or any other provision of this agreement.

(4) All documents and communications in the possession, custody, or control of the
Department of Justice that were created, sent, or received by any custodian identified in
paragraph 6(b)(1) above and/or by any individuals in the Executive Office of the
President and that concern or relate to any meeting between any of the custodians
identified in paragraph 6(b)(1) above and any person employed in the White House
Counsel’s Office that occurred between June 12, 2011, and June 26, 2012, and that
concerned the Department of Justice’s response to the Committee’s investigation into
Operation Fast and Furious, with the search to be limited as follows: The date ranges to
be searched will be limited to dates from 2 days before through 5 days after the following

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   dates on which White House meetings with relevant Department of Justice personnel
   occurred in 2012: Feb. 8, 15, 17, 21, 23, 27, 29; Apr. 11, 23; May 1, 2, 15; and June 26.

7. Electronic documents shall be produced in accordance with instruction 5 of the Schedule
   Instructions attached to the Holder subpoena, and shall include the following metadata
   fields: BegDoc; EndDoc; BegAttach; EndAttach; PageCount; DocType; Author; From;
   CC; To; BCC; Subject; DateSent; DateSent_Time; Title; FileName; FileExtension;
   FileSize; DateCreated; DateCreated_Time; LastSaveDate; LastSaveDate_Time;
   TextFilePath; NativeFilePath; Custodians.

8. Consistent with the in camera availability letter of June 17, 2016, all productions
   pursuant to this agreement are subject to appropriate redaction of limited information that
   federal law bars the Department from disclosing (including grand jury material, see Fed.
   R. Crim. P. 6(e)(2), Title III wiretap material, see 18 U.S.C. §§ 2517, 1518; and
   information sealed in federal court) and information that, if disclosed, could put
   confidential informants, special agents, and witnesses at risk of personal harm and/or
   jeopardize ongoing investigations. In making such redactions, the Department will apply
   the same approach employed in removing previous redactions as referenced in the June
   17, 2016 letter, and will redact nothing other than information necessary to address the
   limited concerns referenced above. The production of material under this agreement does
   not waive or otherwise remove privilege or other protections for this information or for
   other information that is related to the material disclosed.

9. If the Agreement is terminated pursuant to its terms or for material breach of its terms,
   the Committee shall have the right to continue the Appeal with respect to any remaining
   issues in dispute. If the Agreement is not terminated, upon completion of all of the
   searches and productions required under the terms of the Agreement, and after expiration
   of any applicable period(s) of good-faith negotiation and any subsequent 30-day notice
   period(s) pursuant to paragraph 6(b)(1), the Parties shall jointly certify to the District
   Court that they have achieved final resolution of their dispute in accordance with the
   terms of the Agreement, and shall request that the District Court vacate the Orders and
   dismiss the Lawsuit with prejudice in accordance with the Indicative Ruling. Upon
   vacatur of the Orders and dismissal of the Lawsuit, the Parties will jointly move the Court
   of Appeals to dismiss the Appeal.

10. Fees and Costs. The Parties will bear their own costs, fees, and expenses relating to the
    Lawsuit and the Appeal.

11. Representations. By signing this Agreement, each attorney represents that his or her
    client(s) agree with all the terms of this Agreement and that he or she has the authority to
    sign on behalf of his or her client(s). The Parties agree that this Agreement is fully
    binding on them and their successors.

12. Jointly Drafted Agreement. This Agreement shall be considered a jointly drafted
    agreement and shall not be construed against any party as the drafter.



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13. Execution in Counterparts and Electronic Signatures. This Agreement may be executed
    and delivered in counterparts, and may be executed by electronic signature, and if so,
    shall be considered an original. Each counterpart, when executed, shall be considered
    one and the same instrument, which shall comprise the Agreement, which takes effect on
    the date of execution by all parties to the Agreement.

14. Other. This Agreement, consisting of seven pages, fully and completely expresses the
    entire understanding among the Parties on the subject matter hereof and no statement,
    remark, agreement or understanding, oral or written, which is not contained herein, shall
    be recognized or enforced. This Agreement cannot be modified or amended except by an
    instrument in writing, agreed to and signed by the Parties, nor shall any provision hereof
    be waived other than by a written waiver, signed by the Parties.

                                 FOR THE COMMITTEE:

                                 /s/ Thomas G. Hungar
                                 Thomas G. Hungar
                                 General Counsel

                                 OFFICE OF GENERAL COUNSEL
                                 U.S. HOUSE OF REPRESENTATIVES
                                 219 Cannon House Office Building
                                 Washington, D.C. 20515
                                 202/225-9700 (telephone)
                                 Counsel for Appellee

   Executed this 7th day of March, 2018, in Washington, D.C.


                                 FOR THE DEPARTMENT:

                                 /s/ Chad A. Readler
                                 Chad A. Readler
                                 Acting Assistant Attorney General

                                 U.S. DEPARTMENT OF JUSTICE
                                 Civil Division
                                 950 Pennsylvania Ave., Room 3601
                                 Washington, D.C. 20530
                                 202/353-7830 (telephone)
                                 Counsel for Appellants

   Executed this 7th day of March, 2018, in Washington, D.C.




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